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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 RETHINK35, et al.                                §
                                                  §
                Plaintiffs,                       §
 v.                                               §
                                                  §
 TEXAS DEPARTMENT OF                              §
 TRANSPORTATION,                                  §
                                                  §     CIVIL ACTION NO. 1:24-CV-00092-DII
                Defendant.                        §

                         ORDER GRANTING JOINT MOTION
                     TO EXTEND SCHEDULING ORDER DEADLINE

       The Court, having reviewed and considered the parties’ Joint Motion to Extend Scheduling

Order Deadline seeking to extend the deadline for the parties to submit a joint report proposing a

briefing schedule for dispositive motions in this matter to January 13, 2025, is of the opinion that

the motion is meritorious and is therefore GRANTED.

               SIGNED this _____ day of __________________, 2025.



                                              _______________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE
